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  8                       UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
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 10   EMMANUEL PEREZ,                          )   Case No.: 8:20-cv-01775-MRW
                                               )
 11                Plaintiff,                  )   ORDER AWARDING EQUAL
                                               )   ACCESS TO JUSTICE ACT
 12         vs.                                )   ATTORNEY FEES AND EXPENSES
                                               )   PURSUANT TO 28 U.S.C. § 2412(d)
 13   KILOLO KIJAKAZI,                         )   AND COSTS PURSUANT TO 28
      Acting Commissioner of Social            )   U.S.C. § 1920
 14   Security,                                )
                                               )
 15                Defendant                   )
                                               )
 16
 17         Based upon the parties’ Stipulation for the Award and Payment of Equal
 18   Access to Justice Act Fees, Costs, and Expenses:
 19         IT IS ORDERED that fees and expenses in the amount of $3,075.00 as
 20   authorized by 28 U.S.C. § 2412, and no costs authorized by 28 U.S.C. § 1920, be
 21   awarded subject to the terms of the Stipulation.
 22   DATE: 11/10/2021
 23                             ___________________________________
                                THE HONORABLE MICHAEL R. WILNER
 24                             UNITED STATES MAGISTRATE JUDGE
 25
 26

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  1   Respectfully submitted,
  2   LAW OFFICES OF LAWRENCE D. ROHLFING
  3         /s/ Lawrence D. Rohlfing
      _________________________
  4   Lawrence D. Rohlfing
      Attorney for plaintiff Emmanuel Perez
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